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 5   Attorney for Debtor and Debtor-in-Possession
 6
                                 UNITED STATES BANKRUPTCY COURT
 7
                                  NORTERN DISTRICT OF CALIFORNIA
 8

 9                                                   | Chapter 11
     In re:                                          |
10                                                   | Case No. 15-31519
                                                     |
11                                                   |
                                                     |
12   JINNIE JINHUEI CHANG CHAO                       | DEBTOR’S UPDATED STATUS
                                                     | CONFERENCE REPORT
13                                                   |
                                                     | DECLARATION OF ONYINYE N. ANYAMA
14                                                   |
     Debtor-in-Possession                            | IN SUPPORT THEREOF
15                                                   |
                                                     |
16                                                   | Date: September 12, 2019
                                                     | Time: 11:30 a.m.
17                                                   | Room: 17-450 Golden Gate Ave,
                                                     |
18                                                   | San Francisco, CA 94102
                                                     |
19

20   TO: THE HONORABLE DENNIS MONTALI, UNITED STATES BANKRUPTCY JUDGE
21            The above-captioned debtor-in-possession, Jinnie Jinhuei Chang Chao (“Debtor”), by and
22
     through her attorney of record herein, Onyinye N. Anyama (“Debtors Counsel”) hereby respectfully
23
     files this Updated Case Status Conference Report, and sets forth the following facts therein:
24

25   INTRODUCTION/EVENTS LEADING TO BANKRUPTCY

26                   Jinnie Jinhuei Chang Chao (the “debtor”) is an individual and resident of the state of
27   California. Ms. Chao (real estate professional) experienced major decrease in her income. She
28



                              -DEBTOR’S UPDATED STATUS CONFERENCE REPORT-                                     1
Case: 15-31519       Doc# 251     Filed: 09/09/19     Entered: 09/09/19 17:00:41        Page 1 of 3
 1   attempted to reorganize her debt by filing Chapter 13 cases in 2015 pro se. However, the case was
 2
     dismissed since Ms. Chao represented herself and was unsophisticated in bankruptcy matters. Ms.
 3
     Chao employed Onyinye Anyama/Anyama Law Firm to file her Chapter 11 bankruptcy case to
 4
     reorganize her debt.
 5
                    Virtually all of the Debtor’s assets are encumbered by holders of prior secured claims.
 6

 7   The principal assets of the estate are the following properties currently owned by the debtor.

 8              •   8108 Penobscot Ln. McKinney TX,
 9
                •   701 Braxton Ct. McKinney TX,
10
                •   30 Pilarcitos Ct Hillsborough CA
11
                •   305 St Andrews Dr. Pinehurst NC
12

13              •   9 Maverick Pl. Pinehurst

14                           STATUS OF BANKRUPTCY CASE

15       On January 10, 2019, the hearing was continued for holding purposes and as a continued status
16
     conference hearing. The court further continued the hearing to June 27, 2019.
17
     The hearing in the criminal case on August 19, 2019 was continued for a trial setting conference. The
18
     trial setting conference is set for September 23, 2019.
19

20
     Therefore, the debtor would like to request that the status conference be continued to a hearing date

21   after the trial setting conference on September 23, 2019.

22

23
     Dated: September 9, 2019                      Anyama Law Firm
24
                                           By: /s/Onyinye N. Anyama
25                                         Attorney for Debtor-in-Possession
                                                   Jinnie Chang Chao
26

27

28



                             -DEBTOR’S UPDATED STATUS CONFERENCE REPORT-                                     2
Case: 15-31519      Doc# 251      Filed: 09/09/19     Entered: 09/09/19 17:00:41       Page 2 of 3
 1                             DECLARATION OF ONYINYE N. ANYAMA
 2
     I Onyinye Anyama, declare as follows:
 3      1. I am the Attorney at Law licensed to practice in the State of California and before this court. I
 4
            am the attorney for the debtor in this case, and as such I have personal knowledge of the facts
 5
            in this case.
 6
        2. This declaration is made in support of the Debtors Case Status Conference Report.
 7
        3. The debtor’s real properties are located at :
 8
              • 8108 Penobscot Ln. McKinney TX,
 9            • 701 Braxton Ct. McKinney TX,
              • 30 Pilarcitos Ct Hillsborough CA
10            • 305 St Andrews Dr. Pinehurst NC
11
              • 9 Maverick Pl. Pinehurst

12      4. On January 10, 2019, the court continued the hearing for holding purposes. The court further

13          continued the hearing to June 27, 2019.
14
        5. At the last hearing the court further continued the hearing to September 12, 2019 to determine
15
            the outcome on the last hearing in the criminal matter on August 19, 2019.
16
        6. On September 9, 2019, I contacted Ethan Balogh (the criminal case attorney) and he advised
17
            me that the criminal court’s next hearing in this case will be a trial setting conference which is
18

19          scheduled for September 23, 2019.

20      7. I would like to request the court to continue the status conference hearing to be heard after the
21
            trial setting conference scheduled for September 23, 2019.
22
        I declare under penalty of perjury under the laws of the State of California that the foregoing is
23
     true and correct.
24

25   Dated: September 9, 2019                       Respectfully Submitted,
26                                                /s/Onyinye N. Anyama
                                                  Onyinye N. Anyama
27
                                                  Attorney for Debtor-in-possession
28



                             -DEBTOR’S UPDATED STATUS CONFERENCE REPORT-                                      3
Case: 15-31519      Doc# 251      Filed: 09/09/19     Entered: 09/09/19 17:00:41        Page 3 of 3
